 

Case 2:05-Cr-20083-BBD Document 19 Filed 05/31/05 Page 1 of 2 PagelD 13

lN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|V|S|ON

 

 

   
 

uNiTED sTATEs oF AMERicA l L"iTrCiiTs
Piaimerr

VS.
CR. NO. 05-20083-D

l\/|ZONJANI KUBHEKA

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on fora report date on lV|ay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursdav_,J_uhr 21, 2005. at 9:00 a.m'., in Courtroom 3. 9th Floor of the
Federai Building, |Vlemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

iT is so oRDERED this 35 day of May, 2005.

B§RNFC:E B. §ONALD

UN|TED STATES D|STR|CT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20083 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

